                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 JANE DOE,                                          )
                                                    )
                Plaintiff,                          )
                                                    )   CIVIL Action No. 3: 2023-cv-00477
        v.                                          )
                                                    )
 WILLIAMS BOWERS MANAGEMENT,                        )   JUDGE CAMPBELL
 LLC D/B/A WIDE OPEN MUSIC, ASH                     )   MAGISTRATE JUDGE CHIP FRENSLEY
 BOWERS, JIMMIE ALLEN, and                          )
 JOHN DOES 1-100                                    )
                                                    )
                Defendants.                         )


                        DECLARATION OF ELIZABETH A. FEGAN

       I, Elizabeth A. Fegan, declare as follows:

       1.      I am a Managing Member of Fegan Scott LLC and counsel for Plaintiff in this case.

I have full knowledge of the matters stated herein.

       2.      On November 22, 2022, I served a letter on Defendant Jimmie Allen (“Allen”),

requesting him to preserve relevant documents and information and inviting him to engage in pre-

suit discussions with Plaintiff. On November 29, 2022 and on December 8, 2022, Deborah Adams

from Frost Brown Todd LLP responded on behalf of Allen.

       3.      On May 10, 2023, a day before filing this lawsuit, I received a voicemail and an

email from attorney Andrew Brettler from Berk Brettler LLP stating that he represented Allen. I

had several conversations and email exchanges with Mr. Brettler.

       4.      Since July 13, 2023, upon filing of appearance by Jonathan Cole and Katelyn

Dwyer from Baker Donelson Bearman Caldwell & Berkowitz, P.C. (“Movants”) as Allen’s

counsel of record, I engaged in multiple meet and confers with Movants regarding the preservation




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and collection of Allen’s electronically stored information (ESI).

       5.      On July 18, 2023, I attended a meet and confer to discuss the Proposed Initial Case

Management Order [ECF 28] and ESI protocol. During this meeting, counsel for all parties agreed

on dates to propose to the Court as well as sources of ESI to be collected by parties. I advised that

Plaintiff has identified several phone numbers and email addresses of Allen that need to be

preserved and collected, among others.

       6.      On July 19, 2023, I provided Movants by email a list of Allen’s ESI sources to be

preserved and collected for production, including four phone numbers and three email addresses,

with the caveat that Allen likely had numerous additional phone numbers, email addresses, and

aliases. I also noted that information had been deleted or removed from public view on Allen’s

social media and requested that Movants confirm it had been preserved. See Exhibit A.

       7.      On September 15, 2023, I served Plaintiff’s First Requests for Production to

Defendant Jimmie Allen. Exhibit B.

       8.      On September 23, 2023, I served Plaintiff’s First Set of Interrogatories to Defendant

Jimmie Allen. Exhibit C.

       9.      On October 2, 2023, I met with Movants at the courthouse before an initial case

management conference in a similar case against Allen. While waiting for the conference to begin,

I inquired of Movants as to the status of collection and preservation of Allen’s ESI and the methods

for searching and identification of relevant documents. Movants responded that they had not yet

had the opportunity to collect any information as their client was very busy.

       10.     On October 12, 2023, Movants requested a 30-day extension of time for Allen’s

responses to Plaintiff’s discovery requests. Exhibit D.

       11.     On October 13, 2023, I requested a meet and confer and indicated an inclination to



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object to the request for extension of time for Allen’s responses without further assurance and

agreement with respect to the preservation and collection of ESI. Id.

       12.     On October 16, 2023, I met and conferred with Movants regarding their request for

a 30-day extension, given that such extension would further delay the parties’ discussion in regard

to Administrative Order 174-1. Movants indicated that they were not in the position to discuss ESI

during this meeting because they had not yet had a conversation with Allen or collected documents

from him. I agreed to a 30-day extension to respond to discovery requests, with a new deadline of

November 15, 2023, with the agreement that the parties would contemporaneously engage in

discussions regarding ESI, including exchanging a list of search terms.

       13.     I have not yet been served with any responses or objections to Plaintiff’s discovery

requests by Allen.

       14.     On December 19, 2023, at my direction, Yujin Choi, an associate attorney,

requested a meet and confer with all parties to discuss the status of discovery and scheduling.

       15.     On December 20, 2023, in response to this request, Movants advised that they will

be moving to withdraw and that the substitute counsel was not yet known. At my direction, Ms.

Choi requested that they participate in the meet and confer nonetheless given the current posture

of the case. Exhibit E.

       16.     On December 21, 2023, hours before the meet and confer, Movants requested

Plaintiff’s position regarding their Motion to Withdraw as Counsel. I indicated my objection to the

Motion based on the pattern of Allen substituting counsel and my concerns regarding preservation

and/or spoliation of ESI. Id.

       17.     During the meet and confer, Movants filed the Motion to Withdraw. Movants also

advised for the first time that they had used a vendor to collect ESI from two of Allen’s cell phones.



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Movants stated that this vendor is storing the ESI until Allen retains new counsel. I inquired as to

the full scope of ESI preservation and collection, but I am uncertain that all relevant ESI have been

preserved and/or collected from Allen, including Allen’s phone numbers and email addresses

identified on July 19, 2023.

       I declare under penalty of perjury that the foregoing is true and correct.



 Dated: December 29, 2023                            /s/ Elizabeth A. Fegan
                                                     Elizabeth A. Fegan




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